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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

NorCal Tea Party Patriots,

      Plaintiff,

              v.                                 Case No. 1:13cv341

Internal Revenue Service, et al.,                Judge Michael R. Barrett

      Defendants.

                                           ORDER

      This matter is before the Court upon the Final Approval Hearing set for July 10,

2018 in Courtroom 109.       (Doc. 416).   Counsel for Plaintiffs and Defendant Internal

Revenue Service are permitted to appear at the hearing by telephone.

      IT IS SO ORDERED.

                                                /s/ Michael R. Barrett
                                           Michael R. Barrett
                                           United States District Judge
